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15

16                                   UNITED STATES DISTRICT COURT
17                              NORTHERN DISTRICT OF CALIFORNIA
18                                         OAKLAND DIVISION
19   IN RE COLLEGE ATHLETE NIL                          Case No. 4:20-cv-03919 CW
20   LITIGATION
                                                        DECLARATION OF STEVE W. BERMAN IN
21                                                      SUPPORT OF PLAINTIFFS’
                                                        SUPPLEMENTAL BRIEF IN SUPPORT OF
22                                                      MOTION FOR PRELIMINARY
                                                        SETTLEMENT APPROVAL
23

24                                                      Hon. Claudia Wilken

25

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        BERMAN DECL. IN SUPPORT OF PLS.’ SUPPLEMENTAL BRIEF IN SUPPORT OF PRELIMINARY SETTLEMENT APPROVAL
                                             CASE NO. 4:20-cv-03919-CW
     010912-11/2825903 V1
       Case 4:20-cv-03919-CW             Document 535        Filed 09/26/24      Page 2 of 2




 1            I, STEVE W. BERMAN, declare as follows:

 2            1.       I am an attorney duly licensed to practice law before this Court. I am a member of the

 3   Washington Bar, and I have been admitted to this Court pro hac vice. I am the managing partner of

 4   Hagens Berman Sobol Shapiro LLP (“Hagens Berman”) and counsel for the Class Plaintiffs

 5   (“Plaintiffs”) in this matter.

 6            2.       I submit this declaration in support of Plaintiffs’ Supplemental Brief in Support of

 7   Motion for Preliminary Settlement Approval. Based on personal knowledge or discussions with

 8   counsel in my firm of the matters stated herein, if called upon, I could and would competently testify

 9   thereto.

10            3.       Attached hereto are true and correct copies of the following exhibits:

11            Exhibit 1:      Amended Settlement Agreement dated September 26, 2024.

12            Exhibit 2:      Amended Settlement Agreement dated September 26, 2024 [redline].

13            Exhibit 3:      Proposed Email Notice [House].

14            Exhibit 4:      Proposed Postcard Notice [House].

15            Exhibit 5:      Proposed Long Form Notice [House].

16            Exhibit 6:      Proposed Claim Form [House].

17            Exhibit 7:      Proposed Press Release [House and Hubbard].

18            Exhibit 8:      Proposed Email Notice [Hubbard].

19            Exhibit 9:      Proposed Postcard Notice [Hubbard].

20            Exhibit 10:     Proposed Long Form Notice [Hubbard].

21            Exhibit 11:     Proposed Claim Form [Hubbard].

22

23            I declare under penalty of perjury under the laws of the United States that the foregoing is

24   true and correct. Executed this 26th day of September, 2024 at Seattle, Washington.

25

26                                                                     /s/ Steve W. Berman
                                                                      STEVE W. BERMAN
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                                                          1
        BERMAN DECL. IN SUPPORT OF PLS.’ SUPPLEMENTAL BRIEF IN SUPPORT OF PRELIMINARY SETTLEMENT APPROVAL
                                             CASE NO. 4:20-cv-03919-CW
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